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   RHODE ISLAND BANKRUPTCY
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         1:25-bk-10270

         Tallulah's Taqueria, LLC




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         Case Number :                     1:25-bk-10270
         Case Title :                      Tallulah's Taqueria, LLC
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